Case 6:15-cV-01824-CEI\/|-G.]K Document 138 Filed 03/09/18 Page 1 of 1 Page|D 2372
i._..u

ABsTRAcT oF JUDGMENT Nogllic§éR '9 PN 3: 52

CASE NO. 6:15-€v-1824-Orl-41Q.I,I$»;}

 

Pursuant to Title 28 United States Code, Section 3201, this judginth upon‘the
Eling of this abstract in the manner in Which a notice of tax lien Would be filed under
paragraphs (l) and (2) of 26 U.S.C. 6323(f), Creates a lien on all real property of the
defendant(s) and has priority over other liens or encumbrances Which are perfected
later in tirne. ”Ihe lien created by this section is effective, unless satisfied, for a period
of 20 years and mat)[')be renewed by filing a Notice of Renewal. Ifsuch Notice of
Renewal is filed be re the expiration of the 20 year period to prevent the expiration of
the lien and the court approves the renewal, the lien shall relate back to the date the
judgment is liled.

 

 

 

 

NAME AND ADDRESS OF PARTIES NAME OF ‘PARTY IN WHOSE FAVOR
AGAINST WHOM JUDGMENT HAS JUDGMENT HAS BEEN OBTAINED
BEEN OBTAINED
Caring First, Inc. Secretary of Labor, U.S. Department of Labor
2425 Lee Road
Winter Park, FL 32789

Amount of Judgment Names of Creditors' Attorney When Docketed

 

Damages in the amount of R' ALEXANDER ACOSTA
$1,967,377.50, for which sum rec S€Cf€tary_ OfLabOf _
execute_ By: Lydia J. Chastaln
Senior Trial Attorney
Oflice of the Solicitor

61 Forsyth St. SW, Ste. 7Tl()
Atlanta, GA 30303 `

January 22, 2018

 

 

 

 

 

UN.[TED STATES OF AMERICA, CLERK'S OFFICE
§JS.S. DISTRICT COURT FOR THE lVHDDLE DISTRICT OF FLORIDA,

I CERTIFY, that the foregoing is a correct Abstract of the Judgrnent entered or
regstered by this court.

Dated at Orlando, Flon'da on “\MCD/\ div , 2018.

ELIZABETH WARREN, Clerk of Court

By: §W\§/V\ANLX ` » , Deputy Clerk.

